Case 1:23-cr-00251-AKH   Document 205-2   Filed 01/13/25   Page 1 of 8




          Exhibit B
           Case 1:23-cr-00251-AKH          Document 205-2              Filed 01/13/25     Page 2 of 8


Eóin P. Beirne                                                                            One Financial Center
+1.617.348.1707                                                                            Boston, MA 02111
EPBeirne@mintz.com                                                                               617 542 6000
                                                                                                    mintz.com




January 6, 2025




Re:         United States v. Charlie Javice, et al., 23-cr-00251-AKH (S.D.N.Y.)

Dear Counsel:

Pursuant to Federal Rule of Criminal Procedure 16(b)(1)(C), counsel for Ms. Javice provides
notice that Ms. Javice may call Carla Holtze Cell as an expert witness in her case-in-chief at trial.
Ms. Javice provided a previous disclosure for expert witness Dr. Konstantinos Psounis on July 15,
2024. Ms. Javice provides this supplemental disclosure of Ms. Holtze Cell in response to exhibits
designated on the government’s exhibit list on December 16, 2024.

Per Rule 16, below are Ms. Holtze Cell’s qualifications and a summary of her anticipated
testimony. Ms. Javice reserves the right to update, amend, and/or supplement this disclosure as
the case proceeds. A copy of Ms. Holtze Cell’s curriculum vitae, detailing her qualifications, is
attached as Exhibit A. A list of articles authored by Ms. Holtze Cell is attached as Exhibit B. Ms.
Holtze Cell has not testified as an expert witness within the last four years.

      I.       BACKGROUND & QUALIFICATIONS

Ms. Holtze Cell is an industry leader and expert in the fields of digital and internet marketing and
growth strategy, digital and internet analytics, and digital media strategy.

From her professional work running a digital identity company, an affiliate marketing and internet
user optimization company as well as her extensive internet marketing consulting work for various
corporations, Ms. Holtze Cell has relevant experience and expertise in the subjects of digital and
internet marketing, website user identification, monitoring and profile building techniques and
strategies. Ms. Holtze Cell is familiar with the digital products and services utilized to capture
website user information, the process of enhancing and augmenting such information and
developing marketing strategies based on such information. Ms. Holtze Cell works with internet
metrics monitoring tools in her professional work and has an understanding of their capabilities
and how they are used to interpret and utilize internet and website user traffic and metrics.




BOSTON        LOS ANGELES    MIAMI   NEW YORK      SAN DIEGO       SAN FRANCISCO      TORONTO   WASHINGTON
                                MINTZ, LEVIN, COHN, FERRIS, GLOVSKY AND POPEO, P.C.
      Case 1:23-cr-00251-AKH          Document 205-2        Filed 01/13/25     Page 3 of 8


MINTZ

Page 2


   II.     ANTICIPATED TESTIMONY

Based on Ms. Holtze Cell’s professional experience running companies conducting website user
analysis and internet marketing, Ms. Javice anticipates that Ms. Holtze Cell will testify about the
following:

   ● Techniques and tools, routinely used to monitor and analyze website users and the
     interaction between a website and its users.

   ● Aspects of industry standard measurement tools and tactics used by digital companies, like
     Frank, to monitor and analyze website users and user metrics such as Google Analytics,
     AWS Analytics, Qualtrics, MixPanel, mParticle, Braze, Data Dog and BigQuery. Each of
     these tools may be used independently or in combination to keep track of website user
     activity and log website user data.

   ● The standard processes of acquiring website user information, developing user profiles,
     resolving user identity, enriching, enhancing, and augmenting user profiles via data
     aggregators and brokers such as ASL, Enformion, Acxiom and LiveRamp and the
     processes of using identity graphing and matching common identifiers in different data
     sets.

   ● The deployment and use of identity techniques, including various types of internet
     “cookies” such as session and first-party cookies, persistent and third-party cookies as well
     as App IDs across Apple and Android operating systems.

   ● The value of various types of website user data in developing digital and internet marketing
     strategies.

   ● Digital brand impressions and reach, resulting awareness depending on approaches and
     SEO (search engine optimization) processes and the value of a strong/high SEO score or
     rating.

   ● Digital marketing funnels and the various stages of website users across their engagement
     horizons.

   ● Website user traffic measurement, including paid, non-paid and organically generated
     website user traffic.

   ● The use of synthetic data, hashing, attribute and lookalike modeling to anonymize data and
     approaches to protect sensitive personally identifiable information (PII) and/or to model
     and make deductions about the characteristics of an existing data set.
     Case 1:23-cr-00251-AKH          Document 205-2        Filed 01/13/25     Page 4 of 8


MINTZ

Page 3


Ms. Javice reserves the right to further supplement and/or amend this disclosure, including in
response to the government’s ongoing supplementation of its exhibits and/or witness lists as well
as evidence presented in the government’s case-in-chief.



 Very truly yours,


 /s/ Eóin P. Beirne
 Eóin P. Beirne


                                                     Reviewed and approved by:


                                                     /s/ Carla Holtze Cell
                                                     Carla Holtze Cell
Case 1:23-cr-00251-AKH   Document 205-2   Filed 01/13/25   Page 5 of 8




                          Exhibit A
            Case 1:23-cr-00251-AKH                 Document 205-2              Filed 01/13/25          Page 6 of 8
                                                                                                            CARLA HOLTZE CELL
                                                                                                            carlaholtzecell@gmail.com
                                                                                                                        (917) 856-2013


EXECUTIVE SUMMARY
            ● Global Expert on Digital Identity with over 15 years in the Digital Advertising sector, expertise in applying identity
              across Programmatic Advertising, Affiliate Marketing, and Analytics and Attribution to measure effects of identity
              on marketing investments, returns and efficacy
            ● Experienced CEO, Founder, and General Manager responsible for productizing both B2B and B2C AdTech /
              MarTech products to drive rapid growth through innovation, raising capital, managing cross-functional teams,
              creating revenue models, leading GTM, prioritizing technology roadmaps, managing pipeline and scaling
              operations leveraging acumen in Identity, Sales, Commerce, Data, BD, Product Management and Marketing
            ● Leader of strategic partnerships with several multi-billion dollar digital advertising companies
2023-2025        SOVRN                                                                                    Boulder, CO / Ann Arbor, MI
                 Managing Director, Commerce
                 ● Leader of $13M Revenue Commerce business driving affiliate marketing revenue for 20,000+ publishers from
                    50,000+ merchants globally through innovative software technologies that redefine the MarTech industry
                 ● Developing and launching suite of AI affiliate marketing products to scale affiliate marketing across publishers
                    including social platforms, influencer networks, BNPLs and media groups
                 ● Evolving Sovrn Commerce product from affiliate marketing platform to a future leader across Commerce Media
                    utilizing all commerce intent data to drive personalized offers with high ROI across publishers
2014-2023        PARRABLE                                                                            San Francisco, CA / Ann Arbor, MI
                 CEO and Co-Founder
                 ● Identified market opportunity for next generation device identification technology to replace third-party cookie and
                    created an in-app identifier to power AdTech ecosystem, enabling transparency, accuracy, targeting, and attribution
                 ● Launched product in US, LATAM, EU, Japan and propagated ID solution to 25,000 publishers on 2B+ devices
                 ● Raised $10M+ to develop team and launch platform with proprietary, patented technology that is a viable
                    alternative to third-party cookies as is 98+% stable and accurate without utilizing authentication / login information
                 ● Led all aspects of company including recruiting and retention of 50+ employees and contractors across technology,
                    marketing, PR, product, business development and privacy compliance initiatives including GDPR and CCPA
                 ● Industry thought leader including writing several Identity articles in AdExchanger; active member of IAB Identity
                    Taskforce to create path forward from third-party cookies, and met with technology leaders from nearly all major
                    internet marketing platforms to understand their approaches to identity across platforms and channels
                 ● Evangelized, marketed and integrated with advertising ecosystem increasing addressability rates of 60%+
                 ● Fielded and managed all M&A activity developing relationships and liaising with scores of AdTech industry
                    technology leaders; received unsolicited $30M acquisition term sheet, pre-launch
2010-2014        HAVE-TO-HAVE                                                                                         New York, NY
                 CEO and Co-Founder
                 ● Co-founded social commerce platform to drive ecommerce transactions and gather intent data for retargeting
                 ● Developed interactive display advertising units for shopping, engagement rates 100x industry standards of 40+%
                 ● Led GTM shoppable units partnering with publishers and affiliate marketers; Launched consumer marketing and
                    brand influencer program "StyleSetters" for social influencing
2001-2007        LEHMAN BROTHERS                                                                             New York; Hong Kong
                 Associate, Office of the President
                 ● Managed Diversity Offices in Asia; developed programs with educational, recruitment, and commercial goals
                 ● Built and implemented global Encore initiative, designed to hire female employees after maternity leave, hired 40
                 Analyst, Two-year finance rotational training program
                 ● Produced reports, forecasts and commentary of firm balance sheet, cashflows, cost of equity to help drive operations
                 ● Analyzed and allocated cost of equity to businesses and reported on divisional profitability and analytics in
                    management scorecards
EDUCATION:
2007-2010        COLUMBIA BUSINESS SCHOOL                                                                           New York, NY
                 Dual Masters: MBA 2010 & Master of Science, Journalism 2010
                 Leadership: Board Member, Sanford Bernstein Student Leadership and Ethics Board
                 Activities: Marketing Association, Media Management Association, Green Business Club, Social Enterprise Club
1998-2002        NORTHWESTERN UNIVERSITY                                                                                     Evanston, IL
                 Bachelor of Science, Economics and Communications Studies
                 GPA: 3.74; studied abroad: New York University in Paris, Spring 2001
Case 1:23-cr-00251-AKH   Document 205-2   Filed 01/13/25   Page 7 of 8




                          Exhibit B
     Case 1:23-cr-00251-AKH           Document 205-2         Filed 01/13/25      Page 8 of 8




Carla Holtze Cell’s Publications

   1. C. Holtze. “The Expanding Definition of PII.” Adexchanger.com Accessed Jan. 6, 2025.
      [Online.] Available: https://www.adexchanger.com/data-driven-thinking/expanding-definition-
      pii/

   2. C. Holtze. “Counting on Attribution: Is It Art Or Science?” Adexchanger.com Accessed Jan. 6,
      2025. [Online.] Available: https://www.adexchanger.com/data-driven-thinking/counting-
      attribution-art-science/
